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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 MOOG INC.,

                              Plaintiff,
                                                  Case No. 22-187
                         v.

 SKYRYSE, INC., ROBERT ALIN
 PILKINGTON, MISOOK KIM, and DOES NOS.
 1-50,

                              Defendants.




     MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFF’S MOTION FOR
   A TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION




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                                PRELIMINARY STATEMENT

         Unmanned helicopter aviation, which both Plaintiff Moog Inc. (“Moog”) and Defendant

Skyryse, Inc. (“Skyryse”) are pursuing, is a new market, but one for which the underlying

technology requires years of development and investment of millions of dollars. Moog has for

decades developed software that governs flight controls for airplanes and other aircrafts,

including helicopters. Skyryse is a start-up founded in 2016, which in 2019 pivoted its business

model to develop the exact technology that it had proposed engaging Moog to perform subject to

non-disclosure agreements between the parties in 2018 and 2019. In Fall 2020, Skyryse received

over $200 million of new investment, and with it, heightened expectations from investors to

deliver, and quickly. Faced with the realization that it could not “win” on its own, Skyryse has

elected to unfairly compete by taking what it could not develop fast enough. This case arises out

of a strategic plundering by Skyryse of Moog’s proprietary and trade secret information and

raiding of Moog’s software engineer team to give Skyryse, in as short a time as possible, an

unfair competitive edge in launching its own unmanned helicopter aviation offerings.

         As part of its strategy, Skyryse has to date hired away over twenty Moog employees (of a

team of approximately fifty), including Defendant Robert Alin Pilkington (“Pilkington”), lead

architect on the second iteration of Moog’s Platform base software for military purposes, and

Defendant Misook Kim (“Kim”) (collectively with Skyryse and Pilkington, “Defendants”) who

worked for Pilkington. On behalf of Skyryse, Pilkington instructed Defendant Kim, a senior

staff engineer at Moog, to copy on November 19, 2021 over 136,000 files of Moog’s proprietary,

confidential, and trade secret data to an external hard drive, including all source code for Moog’s

Platform base software and related project-specific applications, representing years of

invaluable development and investment of millions upon millions of dollars, just weeks

before she left Moog to join Skyryse. In short, Skyryse has taken virtually everything that


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Moog’s flight control software engineering group developed over the past 15 years.

         Since the theft, Defendants have engaged in a blatant cover up. After multiple

requests by Moog, Kim returned two separate external hard drives, both of which were

completely wiped clean. An expert forensic inspection of the two hard drives and Kim’s

two Moog-issued laptop devices reveals: 1) the hard drive used to copy over 136,000 files

of Moog’s data had been intentionally formatted sometime after Kim’s departure from

Moog such that it is impossible to determine the contents of the drive or if any data was

copied or transferred elsewhere; 2) Kim copied additional Moog data on December 15,

2021, and 54 GB of data was deleted from one of Kim’s computers just two days later (her

last day at Moog); 3) there is a third external hard drive used by Kim during the relevant

period which has not been returned to Moog; and 4) the initial false hard drive returned to

Moog had been re-named to resemble the actual hard drive that was used in copying

Moog’s data. Further, the back covers of Kim’s two Moog-issued laptop devices indicate

they have been removed (which allows removal of its hard drives). Defendants stole

Moog’s data multiple times, used and manipulated multiple devices to escape detection,

and erased their tracks so Moog cannot determine what happened to its stolen data.

         The evidence shows Moog will likely succeed on the merits of its affirmative claims. If

Defendants are not stopped immediately, Moog faces irreparable harm in the form of lost market

share, damaged client relationships and goodwill, and the irreversible disclosure of its trade

secrets. Both temporary and preliminary injunctive relief should be awarded.

                                   STATEMENT OF FACTS

         Founded in 1951 in East Aurora, New York, Moog is a publicly traded (NYSE: MOG.A,

MOG.B) aerospace and defense company. Moog designs and manufactures electric, electro-

hydraulic and hydraulic motion, controls and systems for three segments: aircraft controls, space


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and defense controls, and industrial controls. Moog has developed the flight control systems used

on some of the most common commercial aircrafts, including the Boeing 747 and Airbus A350.

Moog has over 10,000 employees and sales, engineering, and manufacturing facilities in 26

countries. Skyryse, founded in 2016 in Los Angeles, is an aerospace start-up company.

         A        Moog’s Flight Control Software

         Moog designs and manufactures the most advanced motion control products for

aerospace, defense, industrial and medical applications. (Hunter Dec., ¶ 5). Moog develops flight

control software for aircrafts, including helicopters. (Id., ¶ 6). Essentially, Moog develops

software that pairs up with the hardware computer contained in an aircraft to control its flight

and navigation functionality. For example, when a pilot moves a control well in the cockpit,

Moog’s software reads the control and moves the particular component of the airplane. (Id., ¶ 7).

         Moog’s base flight control software is called Platform. (Hunter Dec. ¶ 8; Schmidt Dec., ¶

5). Platform is the “operating system” that an aircraft’s computer uses, similar to Windows or

Mac OS for a standard home computer. (Id.). Moog then builds applications specific to the

particular aircraft to sit on top of the Platform base operating system to tailor its functionality to

the particular aircraft. (Id.). The particular application provides a specific use, but the underlying

operating system allows the entire system and machine to work. (Id.). Over the past 15 years,

Moog has developed three major branches of the Platform base flight control operating system

software: (i) commercial aircrafts, (ii) military use (called “eRTOS”), and (iii) motor applications

(called “AMP”). (Hunter Dec. ¶ 9) (Schmidt Dec. ¶ 6). Building each iteration of the Platform

software required 10 full-time software engineers over a period of two to three years. (Id.).

         B        Platform’s Immense Value to Moog

         The Platform base software, and related project-specific applications, constitute Moog’s

most valuable, sensitive, and proprietary information. (Hunter Dec. ¶ 12). The types of


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information relating to Platform and related project-specific applications that Moog always treats

as internal trade secrets which are never disclosed to other parties are: 1) the source code for

these programs; and 2) certain documents and checklists prepared by Moog’s Software

Engineering Process Group (“SEPG”), which contain processes to ensure that the software is

being developed in a manner to meet certification requirements by the Federal Aviation

Administration (“FAA”) and other similar authorities around the world. (Id., ¶ 28). The SEPG

documents have been optimized over 20 years of working with aviation authorities around the

world. (Id.). Many companies hire Moog for software development specifically because Moog

knows how to efficiently certify software to meet governing aviation standards. (Id.).

         Platform allows Moog to be a front-runner in obtaining bids from commercial or military

parties (Id., ¶ 13). Other competitors do not have this level of adaptable base software which

allows project-specific applications to be developed so quickly on top of an existing base

software. (Id.). On top of the multiple years it took to build Platform, the testing requirements for

flight control software are extremely vigorous and costly. (Id., ¶ 15). Before any flight control

software is approved by the FAA or similar governing bodies, it must be vigorously tested and

certified. (Id.). It takes double the resources to certify a flight software than it does to construct

it, and this process constitutes two-thirds of Moog’s total cost to build flight software. (Id.).

         If a third party obtained Moog’s Platform software and underlying code, testing, and

certification requirements, it could “click and build” project-specific software on top of the base

software in a short amount of time. (Id., ¶ 18).

         C        Efforts to Keep Moog’s Flight Control Software Secret

         Many Moog employees are required to sign Moog internal proprietary information

agreements, as well as third party proprietary information agreements when working on certain

project-specific applications. (Id., ¶ 20). Every employee is required to periodically review and


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sign an acknowledgement in writing of the then-current Moog employee handbook (the

“Employee Handbook”). (Id., ¶ 21). Pilkington acknowledged its receipt and agreed to abide by

its policies on July 30, 2012, and Kim acknowledged its receipt on January 21, 2013. (Id., Ex.

A). The employee handbook provides, among other things, that: 1) Moog employees will receive

access to confidential and proprietary information; 2) disclosure to any outside party is

prohibited, including after employment has been terminated; and 3) Moog employees may not

retain any copies of Moog’s confidential and proprietary information. (Id., Ex. B at pp. 58-59).

         Moog also has robust written policies regarding its confidential, proprietary, and trade

secret information made available to every Moog employee, and Moog requires its software

engineers to regularly complete trainings regarding company “trade secrets” which summarizes

the contents of its written IP policies. (Id., ¶ 24, Exs. C, D). Pilkington and Kim attended these

trainings multiple times. (Id., Ex. E). Moog also requires its departing employees to sign an exit

form where each individual confirms they have been provided access to Moog’s proprietary and

trade secret information, have returned all Moog IP upon departure, and have not maintained

access to any digital record of Moog. (Daly Dec., Ex. A at p. 3).

         Platform is housed on a secure server at Moog’s East Aurora, New York offices. Not all

employees at Moog have access to the software database. (Hunter Dec. ¶ 25). Access to the

software database is on a “need to know” basis that must be approved by the lead on software

program. (Id., ¶ 26). In order to have access to Platform and related project-specific software, a

Moog employee would need five separate credentials. (Id., ¶ 27). Further, certain US

Government programs require heightened security credentials which take a long time to obtain.1



1
  Moog has obligations under its government contracts to implement extensive security measures to safeguard and
protect sensitive information, including but not limited to, access restrictions, authentication, encryption, physical
protections, and specific training for employees. Moog also employs additional requirements and protections for
sensitive data for certain of its government customers.


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(Id., ¶ 65). Moog also has several physical security measures to safeguard its proprietary

information, including controlled access into buildings, mandatory security screenings for all

employees, and background checks before hiring. (Id., ¶ 22). Finally, Moog source code files are

designated “MOOG PROPRIETARY and CONFIDENTIAL INFORMATION” and contains

restrictive language prohibiting its disclosure to third parties. (Id., ¶ 29).

         D        Relevant Moog Team That Developed Platform

         Gonzalo Rey (former Director of Engineering and Chief Technology Officer) and Sathya

Achar (former Engineering Technical Fellow) were the first two Moog employees to sponsor and

oversee the development of Moog Platform base software beginning in 2007. (Hunter Dec. ¶ 30).

They have the most institutional and technical knowledge regarding the software, as well as its

relationship with project-specific applications which sit on top of the base software. (Id.).

         Michael Hunter and Todd Schmidt are two senior level engineers who have worked on

and managed the programs that created Platform and related applications, since 2007. (Hunter

Dec. ¶¶ 3-4) (Schmidt Dec. ¶¶ 3-4). Robert Alin Pilkington (former Senior Staff Engineer) was

the lead architect on eRTOS. (Hunter Dec. ¶ 31). Pilkington reported to Hunter and Schmidt

during his tenure at Moog. (Hunter Dec. ¶ 31) (Schmidt Dec. ¶ 24). Misook Kim was a Senior

Staff Engineer who worked under Pilkington. (Hunter Dec. ¶ 31).

         E        Moog and Skyryse’s Initial Business Relationship

         In 2018, Moog’s Growth & Innovation Group (focused on finding new and innovative

business opportunities for Moog outside of its existing business channels) began exploring a

potential business opportunity with Skyryse. (Stoelting Dec., ¶ 7). Skyryse indicated it wanted

offer on-demand helicopter transportation to the general public, through the use of automated

flight system technology. (Id., ¶ 9). Under this proposed structure, Moog would provide the

automated helicopter flight control systems (including flight control software, actuators, and


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computers), and Skyryse would install and implement this technology into their business. (Id.).

This proposal was appealing to Moog, providing a new business channel that would capitalize on

Moog’s decades of experience in developing flight control systems. (Id.).

         Moog and Skyryse entered into two separate Non-Disclosure Agreements on October 24,

2018 (the “2018 NDA”) and March 15, 2019 (the “2019 NDA”) (collectively, the “NDAs”).

(Stoelting Dec. ¶¶ 12-13, Exs. A, B). Under those NDAs, the Parties agreed not to disclose any

proprietary information disclosed by the other parties, refrain from any reverse engineering, and

the receiving party of such information could only be used for the limited purpose of the

contemplated engagement between Moog and Skyryse. (Id., § 2).

         Moog and Skyryse’s business relationship was to be conducted in four separate phases.

On May 31, 2019, the Parties entered into a




         On June 3, 2019, Moog and Skyryse entered into a corresponding




         F        Skyryse’s Changes Its Business Model to Overlap with Moog’s

         Moog met its obligations and timely provided to Skyryse the deliverables under the

SOW. (Stoelting Dec. ¶ 21). However, Skyryse’s planned launch in October 2019 failed as it

stopped its business operations, fired many of its employees, and pivoted its business model. (Id.,

¶ 22). In late 2019, Skyryse began advertising that it was offering an autonomous flight system


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as part of a flight control operating system. (Id., ¶ 23). Skyryse called its flight operating system

“Luna,” which was very similar to Moog’s name for its autonomous flight system previously

discussed with Skyryse, “Lucy.” (Id.). It became clear to Moog that Skyryse had now pivoted

into developing exactly the technology that it had proposed engaging Moog to perform. (Id.).

         On May 22, 2020, Skyryse issued a request for quote (“RFQ”) to Moog. (Stoelting Dec. ¶

24, Ex. E). Skyryse requested that Moog provide flight control computers and actuator systems

for Skyryse to use and to implement Skyryse’s flight control operating system software. (Id., ¶

25). This was already an established line of business for Moog, so Moog’s Growth & Innovation

Group was reluctant to move forward. (Id.). Nonetheless, given the prior business relationship

with Skyryse, and the fact that several former Moog employees worked at Skyryse, on

September 22, 2020, Moog submitted a bid in response to Skyryse’s RFQ for $46,195,870. (Id.,

¶ 26, Ex. F). Skyryse advised Moog that its bid was too expensive and declined. (Id., ¶ 27).

Phase 1 concluded, but the terms of the 2018 and 2019 NDAs were never terminated. (Id., ¶ 28).

         G        Skyryse’s Raiding of Moog’s Employees

         To date, Skyryse has hired 20 software engineers from Moog, with the majority of these

departures occurring in the past few months. (Hunter Dec. ¶ 34). Rey was the first Moog

employee to join Skyryse when he left Moog in 2017. (Id.). Achar joined Skyryse in January

2022, after advising Moog that he was retiring. (Id.). Pilkington left Moog on November 12,

2021 to join Skyryse. (Id.). These key, senior individuals are extremely familiar with Moog’s

Platform base software and related project-specific applications, as well as the more capable

members of Moog’s software engineering teams who worked on these programs. (Id., ¶ 35).

         Kim left Moog on December 17, 2021 to join Skyryse. (Id., ¶ 34). Several additional

software engineers have followed suit. Skyryse has reached out to a large number of software

engineers at Moog, primarily targeted at Moog’s Los Angeles-area office. (Id., ¶ 38).


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         While some engineers have remained loyal to Moog, Skyryse has aggressively recruited

them as well. For example, in August 2021, Rey contacted Hunter and asked him to join

Skyryse. (Id., ¶ 36). In January 2022, Pilkington reached out to Hunter asking him to join

Skyryse. (Id., ¶ 37). Pilkington advised Hunter that there was “urgency” at Skyryse. (Id.).

         Similarly, on October 13, 2021, Rey contacted Schmidt to see if he would join Skyryse as

lead engineer. (Schmidt Dec. ¶ 9). Rey told Schmidt something to the effect of: “You will

become very wealthy.” (Id., ¶ 11). During a phone call, Rey advised Schmidt that Skyryse’s

goal was extracting flight control functions to an iPad type of interface, so that anyone who can

use an iPad can fly a helicopter. (Id., ¶ 10). Rey also advised that Skyryse wanted to provide an

entire system that could fly an aircraft, including hardware and software components (Id.).

         H        Substantial Data Theft of Moog’s Most Proprietary Information

         Moog recently discovered that on November 19, 2021, between the hours of 3:00 and

7:00 a.m. and from a remote location, former Moog employee Kim copied certain Moog data to

an external hard drive. (Bagnald Dec., ¶¶ 8, 10). This event took place less than one month

before Kim’s last day at Moog, and less than one week after Pilkington, her supervisor, left

Moog for Skyryse. (Id.). Kim copied 136,994 separate files:

                         Type                                        Number

 Source Code                                      43,960

 Spreadsheets                                     5,377

 Documents                                        2,831

 Executables                                      954

 Images                                           9,003

 MAP Files                                        2,010




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 Models                                             7,898

 Object Files                                       1,026

 Plain Text                                         4,613

 Presentations                                      404

 Misc.                                              20,655

 SVN Logs                                           38,263

 Total Files                                        136,994


(Id., ¶ 13). Kim used Pilkington’s file path to copy the data onto the external hard drive.

(Bagnald Dec. ¶ 14) (Hunter Dec. ¶ 47) (Schmidt Dec., ¶ 23). Employees working on Platform

had their own “branch” or location on Moog’s server, to store sensitive materials they needed

access to. (Id.). The file path used by Kim was: “D:\Misook\ENG_Alin_Branch\Software…”

(Id.). Kim had credentials to use her own file path, but instead used Pilkington’s. (Id.).

         Several Moog senior engineers confirmed that Kim was very loyal to Pilkington, and

would do anything he instructed. (Hunter Dec. ¶ 51; Schmidt Dec. ¶¶ 24-25; Lopez Dec., ¶ 6).

Kim would not have accessed Pilkington’s branch unless he expressly instructed her to. (Id.).

         I        Nature and Value of the Copied Data

         The scope of data copied by Kim is remarkable. Moog senior engineers Messrs. Hunter

and Schmidt have analyzed the file log of data copied by Kim (the “File Log”). (Hunter Dec. ¶¶

42-43) (Schmidt Dec. ¶¶ 18-19). The entire application layer for Platform was copied by Kim,

meaning that 100% of the base Platform software and its code were copied. (Hunter Dec. ¶ 45)

(Schmidt Dec. ¶ 21). All three iterations (commercial, military, motors) of Platform were copied,

as well as test artifacts (Id.). Kim copied the entire application layer for seven project-specific

applications, including six military projects. (Id.). This comprises all of the code,



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documentation, and related information regarding the composition, testing, and certification of

Platform and project-specific applications. (Hunter Dec. ¶ 46) (Schmidt Dec. ¶ 22) (Lopez Dec. ¶

11). Additionally, in addition to source code, Kim copied Moog’s trade secret checklists (76)

and five documents from its SEPG repository. (Hunter Dec. ¶ 46). Kim essentially copied

everything that Moog’s flight control software engineering teams had worked on over the past 15

years. (Hunter Dec. ¶ 63) (Schmidt Dec. ¶ 27) (Lopez Dec. ¶ 14).

         J        No Legitimate Purpose for Kim’s Data Copying

         There was no legitimate purpose for Kim’s copying of Moog’s proprietary, confidential,

and trade secret information. Kim signed an exit form (the “Exit Form”) on her last day at

Moog, December 17, 2021, where she affirmed in writing that she had returned all Moog

“TRADE SECRET/COMPANY CONFIDENTIAL INFO.” (Daly Dec., Ex. A). The Exit Form

also provides, among other things: 1) Kim “owes a fiduciary duty to Moog to not usurp any such

corporate opportunity for [her] own benefit”; and 2) Kim affirms that she does “not maintain

access to, or have possession of, any tangible or digital record of Moog IP-whether in hard copy

or digital form—on any device, cloud, or digital storage facilities.” (Id.).

         Regardless, the standard way in which Moog employees worked on Platform-related

projects would be connecting to Moog’s server via remote virtual private network (“VPN”).

(Hunter Dec. ¶ 27). All of the data copied by Kim is located on Moog’s internal servers in East

Aurora, New York. Even if Kim was working on a different Moog computer, she could access

all the data she copied from Moog’s Subversion network using her login credentials. (Schmidt

Dec ¶ 32). Even if downloading data was necessary, a copy of the data would be stored to the

user’s hard drive on their laptop computer – not an external hard drive. (Hunter Dec. ¶ 48).

         Further, in December 2021, Kim was working solely on a military program labeled

herein as “Sensitive Government Program 2.” (Hunter Dec. ¶ 54) (Schmidt Dec. ¶ 31) (Lopez


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Dec., ¶ 15). Kim was a software tester, not an engineer who wrote code. (Hunter Dec. ¶ 49).

Thus, even if Kim wanted to copy certain Moog data for legitimate business purposes, she would

only have a need to copy certain verification and testing data related to Sensitive Government

Program 2 (instead of the entire application layer for several projects she never touched).

(Schmidt Dec. ¶ 31). To support legitimate business purposes, Kim would have needed, at most,

to access only 0.5% of the total data that she copied on November 19, 2021. (Id.).

           K        Kim Returns Two Hard Drives Which are Both Wiped Clean

           When contacted by Moog, Kim engaged in a cover up in an attempt to mask her actions.

On January 28, 2022, Moog informally requested that Kim return the company-issued external

hard drive she had in her possession. (Bagnald Dec. ¶ 15). On January 31, 2022, Kim’s sister

who also works at Moog returned on Kim’s behalf a hard drive to Moog. (Id.). However, a

quick inspection of this device revealed it was not the device Kim used to copy Moog’s data on

November 19, 2021, and it had been completely wiped clean. (Id., ¶¶ 11, 16-17).

           On February 18, 2022, Moog sent a formal letter to Kim demanding that she return the

external hard drive in question. (Daly Dec. ¶ 5, Ex. B) Kim called Moog’s HR employee Jamie

Daly, advising her that she had possession of the Moog external hard drive, and that she

downloaded a large set of files in order to help Moog employees after her departure. (Id. ¶ 7).

Kim claimed she needed the files for Sensitive Government Program 2. (Id.).2 She then stated

she had deleted all of the files on the drive. (Id.). Moog then recovered the hard drive. (Id., ¶ 8).

           An expert forensic analysis was performed on Kim’s two hard drives and two Moog-

issued laptops which revealed: 1) the hard drive used to copy over 136,000 files of Moog’s


2
    This explanation makes no sense because, among other reasons: 1) there was no plan or agreement for Kim to
    assist Moog employees after her departure; 2) at the time of departure, Kim was only working on testing related to
    Sensitive Government Program 2, and therefore was only involved in at most 0.5% of the total data she copied; 3)
    Kim returned a different hard drive the first time without any mention of the actual hard drive in question; and 4)
    Kim should have disclosed the data she copied on her Exit Form. (Hunter Dec. ¶¶ 52-57).


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data had been intentionally formatted sometime after Kim’s departure from Moog in such a

manner that it is impossible to determine the contents of the drive or if any data was copied

or transferred to another device; 2) Kim copied additional Moog data to the same hard

drive on December 15, 2021, and 54 GB of data was deleted from one of Kim’s computers

just two days later; and 3) there is a third external hard drive used by Kim during the

relevant period which has not been returned to Moog; and 4) the initial false hard drive

returned by Kim’s sister had been re-named in an effort to resemble the second hard drive

which was used to actually copy Moog’s data. (See generally Pixley Dec.). Further, the

back covers of Kim’s two Moog-issued laptop devices indicate they have been removed

(allowing removal of its hard drives). (Johnnie Dec., ¶¶ 11-13, Exs. C, D).

                                           ARGUMENT

I.       MOOG REQUIRES TEMPORARY AND PRELIMINARY INJUNCTIVE RELIEF

         Pursuant to Rule 65 of the Federal Rules of Civil Procedure and L.R.Civ.P. 65, Moog

seeks a temporary restraining order (i) prohibiting Defendants from using, accessing,

disclosing, copying, or transmitting Moog’s trade secrets and other proprietary information;

(ii) requiring the return of all such information in Defendants’ possession, custody, or control to

Moog, and (iii) requiring the preservation of Defendants’ electronic devices, accounts, and

networks for evidentiary purposes. Moog also seeks a preliminary injunction prohibiting

Defendants from (i) continuing to possess or use Moog’s confidential, proprietary, and/or trade

secret information; and (ii) such other relief as the Court may deem appropriate as against

Defendants. The same standard governs both an application for a temporary restraining order

and an application for a preliminary injunction. Jones v. Wolf, 467 F. Supp. 3d 74, 81

(W.D.N.Y. 2020). A plaintiff “‘must establish that he is likely to succeed on the merits, that he

is likely to suffer irreparable harm in the absence of preliminary relief, that the balance of


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equities tips in his favor, and that an injunction is in the public interest.’” Id. (internal citations

and quotation marks omitted).

II.      MOOG WILL SUFFER IRREPARABLE HARM IF TEMPORARY AND
         PRELIMINARY INJUNCTIVE RELIEF IS NOT GRANTED

         Moog’s threated injury is irreparable, as it is “neither remote nor speculative, but actual

and imminent and that cannot be remedied by an award of money damages.” See trueEX, LLC v.

MarkitSERV Ltd., 266 F. Supp. 3d 705, 726 (S.D.N.Y. 2017) (internal citations and quotation

marks omitted). Indeed, “[a] trade secret once lost is, of course, lost forever” and, as a result,

such a loss “cannot be measured in money damages.” FMC Corp. v. Taiwan Tainan Giant

Indus. Co., 730 F.2d 61, 63 (2d Cir.1984); see Computer Assocs. Int'l v. Bryan, 784 F. Supp.

982, 986 (E.D.N.Y.1992) (same).

         The loss of Moog’s reputation as a first-mover in the market, Defendants’ theft of

Moog’s source code and trade secrets, and damage to Moog’s goodwill and customer

relationships are precisely the types of irreparable harm that courts in the Second Circuit have

issued injunctive relief to redress. See, e.g., Lumex, Inc. v. Highsmith, 919 F. Supp. 624, 636

(E.D.N.Y. 1996) (“The potential loss of an industry leader’s present market and loss of the

advantage of being the pioneer in the field and the market leader, may constitute irreparable

harm.”); see also PLC Trenching Co., LLC v. Newton, No. 6:11-CV-0515, 2011 WL 13135653,

at *3 (N.D.N.Y. Dec. 12, 2011) (finding irreparable harm where use of plaintiff’s trade secrets

“would harm Plaintiff in a way that cannot easily be measured in dollars.”); Asa v. Pictometry

Int’l Corp., 757 F. Supp. 2d 238, 244-245 (W.D.N.Y. 2010) (loss of “customer goodwill” and

“[m]ajor disruption of a business” can “quality as irreparable injury.”). This is not a case where

Moog lost one or two sensitive documents—Defendants surreptitiously copied 15 years’ worth

of proprietary software code and related data, nearly 137,000 files’ worth.



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         A        The Unmanned Helicopter Aviation Market and High Barriers to Entry

         Unmanned helicopter aviation, which both Moog and Skyryse are pursuing, is a new

market with no industry leader. (Hunter Dec. ¶ 59). About 20 companies, including Moog and

Skyryse, are pursuing the market. (Id.). Whichever company is first to market with a viable

product will likely win substantial market share just by wont of being first. By stealing Moog’s

source code and other proprietary information underlying Platform and related applications, and

crippling Moog’s software engineering workforce, Skyryse has unlawfully jumped to the front of

this race. This harm to Moog is irreparable, because time cannot be unwound.

         Further, there is a high barrier to entry in the flight control software market. (Id., ¶ 60).

Companies that have an established, tested, and proven software and have successfully delivered

on contracts have a huge advantage in securing contracts from the government and other third

parties. (Id.). Other companies would have to pay two to three times what Moog does to secure

a flight control software contract because Moog has established flight control operating system

software. (Id., ¶ 61). Moog wins most of the flight control projects that it bids on. (Id.).

         If a third party such as Skyryse obtained the entire code and underlying data to Moog’s

Platform software and related applications, the large barrier to entry would be removed because

it would save Skyryse tens of millions of dollars and decades of work in avoided development

efforts. (Id., ¶ 63). Some of the project-specific applications copied by Kim, including G280,

are directly relevant to Skyryse’s business. (Hunter Dec. ¶ 61) (Schmidt Dec. ¶ 28).

         Kim essentially copied every piece of data related to every flight control software and

application developed by Moog over 15 years. (Hunter Dec. ¶ 63; Schmidt Dec. ¶ 27). This data

is the epitome of priceless and represents the highest level of intelligence and wisdom of Moog’s

premier engineers and software architects of the past two decades. (Schmidt Dec. ¶ 27).




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         B        Moog’s Enormous Investment in its Flight Control Programs

         Moog’s investment of engineering time, money, and other resources into the

development, testing, and certification of its programs and applications has been enormous.

Moog has invested approximately                   in developing, testing, and certifying all three

iterations of its Platform base software over the past 15 years. (Hunter Dec. ¶ 16). Moog has also

invested approximately                  in developing, testing, and certifying its aircraft project-

specific software applications that sit on top of the Platform software. (Id.).

         For context, Moog’s flight control systems for a commercial aircraft (including software,

hardware, actuation, hydraulics, etc.) typically cost between                      for each type of

aircraft, which in turn require over one million hours of software engineering and support staff

time. (Schmidt Dec. ¶ 15). For example, Kim copied all data related to the eRTOS iteration of

the Platform base software. (Lopez Dec. ¶ 11).

                                         (Id. ¶ 13). Just writing the code for eRTOS took multiple

years. (Id.). Once written, it still takes several additional years to verify, test, and certify the

code under Federal Aviation Administration and other international governing body standards.

(Id.). As another example, Kim copied all data related to Sensitive Government Program 1,

                                                                                      (Id., ¶ 12).

         C        Moog Has Suffered Substantial Reputational Harm and Loss of Goodwill

         Defendants’ misappropriation, if not promptly enjoined, will jeopardize and irreparably

impair Moog’s ability to obtain future commercial and government contracts. (Hunter Dec. ¶

67). Under every contract that Moog enters into for flight software development, Moog must

notify its customers if certain proprietary or confidential data is copied or stolen. (Id., ¶ 66).

Indeed, data and information security is of paramount concern in this industry, especially with

the US Government. (Id. ¶ 67). Defendants’ theft of Moog’s data puts its sterling reputation


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into jeopardy. (Id.). See Eastview Mall LLC v. Grace Holmes Inc.¸ 122 N.Y.S. 3d 848, 851

(2020) (“loss of goodwill and damage to customer relationships, unlike the loss of specific sales,

is not easily quantified or remedied by money damages.”); Velo-Bind, Inc. v. Scheck, 485 F.

Supp. 102, 109 (S.D.N.Y. 1979) (noting that good will built up over the years is not monetarily

ascertainable, and issuing injunctive relief). Absent immediate judicial relief to stop the use of

these materials, this reputational and goodwill harm will continue and increase in severity.

         D        Defendants Will Inevitably Use and Disclose Moog’s Trade Secrets

         Moog can also demonstrate irreparable harm because there is a high probability that

Defendants will “inevitably disclose” Moog’s trade secrets and proprietary information. Int'l

Bus. Machines Corp. v. Papermaster, No. 08-CV-9078(KMK), 2008 WL 4974508, at *8

(S.D.N.Y. Nov. 21, 2008). Under the inevitable disclosure doctrine, irreparable harm may be

found even when there is no proof that a defendant has actually misappropriated trade secrets if

there is a substantial risk that he will do so in his new employment setting. Courts consider the

following factors: “(1) the extent to which the new employer is a direct competitor of the former

employer; (2) whether the employee’s new position is nearly identical to his old one, such that he

could not reasonably be expected to fulfill his new job responsibilities without utilizing the trade

secrets of his former employer; (3) the extent to which the trade secrets at issue would be

valuable to the new employer; and (4) the nature of the industry and its trade secrets.” Int'l Bus.

Machines Corp. v. Lima, No. 7:20-cv-4573, 2020 WL 5261336, at *12 (S.D.N.Y. Sep. 3, 2020)

(citing Papermaster, 2008 WL 4974508, at *7).

         Here, each factor supports application of the inevitable disclosure doctrine against

Pilkington and Kim. First, Moog and Skyryse are direct competitors in the unmanned flight

control software market. Cf. Lima, 2020 WL 5261336, at *12 (granting injunctive relief based

on the inevitable disclosure doctrine because IBM and Microsoft “engage in head-to-head


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competition”). Second, Pilkington and Kim’s new positions at Skyryse are comparable to their

former positions at Moog. At Moog, Pilkington was the lead architect on the second iteration of

Moog’s Platform base software for military purposes, and Kim was a senior staff engineer.

Their roles at Skyryse involve the same type of work, such that they cannot reasonably be

expected to fulfill their new job responsibilities without utilizing Moog’s confidential

information. See Lima, 2020 WL 5261336, at *12 (granting injunctive relief based on the

inevitable disclosure doctrine because defendant Mr. Lima’s “proposed employment at Microsoft

is nearly identical to that at IBM,” as “Mr. Lima’s proposed job will be to execute global

strategies on behalf of Microsoft, just as he executed IBM's global strategies.”); see also Estee

Lauder Cos. v. Batra, 430 F. Supp. 2d 158, 174 (S.D.N.Y. 2006) (Even though “a trade secret

has not yet been disclosed, irreparable harm may be found based upon a finding that trade secrets

will inevitably be disclosed where, as here, the movant competes directly with the prospective

employer and the transient employee possesses highly confidential or technical knowledge[.]”).

         According to Kim’s LinkedIn profile, Kim is a Senior Software Engineer, Flight Control

at Skyryse since December 2021 and “Skyryse is developing FlightOS, the world’s first

universal flight deck and operating system,” (see www.linkedin.com/in/misook-kim-8292837)--

precisely the same role and responsibilities that Kim was performing for Moog. (Hunter Dec. ¶¶

31, 34). This conclusion is bolstered by the fact that Kim (at Pilkington’s instructions and with

Skyryse’s knowledge) actually copied “100% of the base Platform software and code (i.e., “[a]ll

three iterations (commercial, military, motors) of Platform were copied, as well as test artifacts

related to the iterations,” (Hunter Dec., ¶ 45), which “demonstrates defendants’ cavalier attitude

toward their duties to their former employer” and “gives rise to a reasonable inference that they

would use [Moog’s] confidential information against it.” See Integrated Cash Mgmt. Servs., Inc

v. Digital Transactions, Inc., 920 F.2d 171, 172 (2nd Cir. 1990) (permanently enjoining


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defendants from using plaintiff’s trade secrets because of the “cavalier way in which the

defendants treated their secrecy and nondisclosure obligations,” despite the fact that there was

“no proof that the copied files were directly used”).

         Third, Moog’s confidential information and trade secrets would unquestionably be

valuable to Skyryse because they would save Skyryse “tens of millions of dollars and several

years of developing that software” in avoided development costs. (Hunter Dec., ¶ 59); cf. Lima,

2020 WL 5261336, at *13 (“The record […] reflects that knowledge of the trade secrets at issue

would be valuable to Microsoft.”). Fourth, “the nature of the industry” is highly-competitive and

one in which millions of dollars and years of work are spent developing and testing confidential

and proprietary software. Companies like Moog that have an established, tested, and proven

software and that have successfully delivered on contracts have a “huge competitive advantage”

because “other competitors do not have [Moog’s] level of adaptable base software which allows

project-specific applications to be developed so quickly on top of any existing base software,”

which in turn allows Moog to be the “front runner” in bidding on and winning contracts with

government and commercial parties. (Hunter Dec., ¶ 13); cf. Lima, 2020 WL 5261336, at *13

(The nature of the industry is “very competitive” because competitors “engage the same

clients[.]”).

         In short, even if the Court finds there was no proof of actual misappropriation now at the

inception of the case, Moog is entitled to a preliminary injunction against Defendants based on

the inevitable disclosure doctrine.3


3
  This conclusion is supported by Section 8 of the 2018 and 2019 NDAs between Skyryse and Moog, which provide
that a breach thereunder will result in “irreparable and continuing damage” and that the “non-breaching Party shall
be entitled to seek injunctive relief.” (Stoelting Dec., Exs. A, B). “Where, as here, the agreed-to language of a
restrictive covenant explicitly provides that a breach by the employee will constitute irreparable harm to the
employer, [courts in the Second Circuit] have found that fact sufficient to discharge the movant’s burden of showing
irreparable harm for purposes of a preliminary injunction.” Devos, Ltd. v. Record, No. 15-CV-6916(ADS)(AYS),
2015 WL 9593616, at *8 (E.D.N.Y. Dec. 24, 2015).


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III.     MOOG IS HIGHLY LIKELY TO SUCCEED ON ITS CLAIMS

         A        Violation of the Defend Trade Secrets Act

         To prevail on a DTSA claim, a plaintiff must show “an unconsented disclosure or use of

a trade secret by one who (i) used improper means to acquire the secret, or (ii) at the time of

disclosure, knew or had reason to know that the trade secret was acquired through improper

means, under circumstances giving rise to a duty to maintain the secrecy of the trade secret, or

derived from or through a person who owed such a duty.” Elsevier Inc. v. Doctor Evidence,

LLC, No. 17-cv-5540 (KBF), 2018 WL 557906, at *3 (S.D.N.Y. Jan. 23, 2018). Under the

DTSA, a trade secret is information that “derives independent economic value, actual or

potential, from not being generally known to, and not being readily ascertainable through proper

means by, another person . . .” 18 U.S.C. § 1839(3)(B). To qualify as trade secret, the owner

must have “taken reasonable measures to keep such information secret.” 18 U.S.C. §

1839(3)(A). Moog can satisfy these elements and is likely to succeed on its DTSA claim.

         First, the trade secret information at issue is Moog’s source code for Platform software

and related project-specific applications and programs, and the SEPG checklists and

documents to ensure the software will meet certification requirements of aviation authorities

around the world. As demonstrated above, this information has enormous economic value and

provides Moog a large competitive advantage in the marketplace. (Hunter Dec., ¶ 13).

         Second, Moog takes reasonable steps to keep its information secret, including (i)

maintaining controlled access to its buildings and security screening and background checks for

employees prior to hiring; (ii) requiring employees to acknowledge and comply with employee

handbooks which prohibit disclosure or copying of Moog’s confidential information; (iii) robust

written policies regarding Moog’s proprietary and trade secret information; (iv) requiring

software engineers to complete extensive trainings regarding company “trade secrets”; (v)


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housing Platform, including all attendant project-specific software, on a secure server; (vi)

limiting access to the software database to a “need to know” basis requiring five levels of

credentials; (vii) requiring departing Moog employees to sign an exit form affirming no access or

copies of such materials and that they will not breach their fiduciary duties to Moog; (viii)

designating all Moog source code files as proprietary and confidential; and (ix) entering into

NDAs with third parties to protect Moog confidential information. (Hunter Dec., ¶¶ 19-29).

         Third, Moog has established Defendants’ misappropriation under 18 U.S.C. section

1839(5). Kim copied “100% of the base Platform software and code” less than one week after

Pilkington went to work for Skyryse and less than one month before Kim went to work with

Pilkington at Skyryse. (Hunter Dec., ¶¶ 34, 41). She took the data from Pilkington’s branch,

which only makes sense if he were directing her. As a senior engineer, Kim clearly knew when

she copied 100% of Moog’s Platform software that she had a duty to maintain its secrecy, which

she acknowledged in the Exit Form she signed less than a month after copying all of Moog’s

data. Kim’s confirmed theft of Moog’s trade secret information and disclosure to Pilkington and

Skyryse is a clear violation of the DTSA. Pilkington and Skyryse have also misappropriated

Moog’s trade secrets within the meaning of the DTSA because they knew Kim owed Moog a

duty to maintain its secrecy (as did Pilkington). Fabkom, Inc. v. R.W. Smith & Assocs, Inc., No.

95-cv-4552 (MBM), 1996 WL 531873, at *9 (S.D.N.Y. Sep. 19, 1006) (granting preliminary

injunction based on “a web of perhaps ambiguous circumstantial evidence from which the trier

of fact may draw inferences which convince him that it is more probable than not that what

plaintiffs allege happened did in fact take place,” and noting “misuse can rarely be proved by

convincing and direct evidence.” (internal citations and quotation marks omitted); Mickey’s

Linen v. Fischer, No. 17 C 2154, 2017 WL 3970593, at *12-13 (N.D. Ill. Sept. 8, 2017) (granting

injunction upon finding “substantial circumstantial evidence” that the defendant improperly


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acquired plaintiff’s trade secrets, and a “high probability” that further misappropriation would

otherwise ensue).

         The forensic analysis of Kim’s devices confirms that vast volumes of Moog’s data were

intentionally deleted to conceal what was copied or where that data was copied or transferred to.

(See generally Pixley Dec.). Kim also copied additional Moog data on December 15, 2021,

deleted voluminous Moog data on her last day at work, and used an unknown and unreturned

third hard drive. (Id. at ¶¶ 20, 24-27). A false hard drive was even re-named to resemble the

actual hard drive used to copy Moog’s data. (Id. at ¶¶ 31-32). And again, Kim copied “100% of

the base Platform software and code” less than a month before quitting Moog to join Pilkington

at Skyryse, and with no legitimate reason to do so. (Hunter Dec., ¶¶ 41, 45). This overwhelming

evidence of wrongdoing shows Moog is likely to succeed on its DTSA claim.

         B        Misappropriation of Trade Secrets

         “To succeed on a claim for the misappropriation of trade secrets under New York law, a

party must demonstrate: (1) that it possessed a trade secret, and (2) that the defendants used that

trade secret in breach of an agreement, confidential relationship or duty, or as a result of

discovery by improper means.” PLC Trenching, 2011 WL 13135653, at *4. A trade secret is

“any formula, pattern, device or compilation of information which is used in one's business, and

which gives the owner an opportunity to obtain an advantage over competitors who do not know

or use it.” Freedom Calls Found. v. Bukstel, 2006 WL 845509, at *15 (E.D.N.Y. Mar. 3, 2006).

As explained above, Moog’s information at issue is likewise a trade secret under New York law.

Moog’s source code for Platform software and related project-specific applications, programs,

and spreadsheets are information of the kind that is protected under New York law. See Fabkom,

1996 WL 531873, at *6-7 (granting an injunction and recognizing that “source code, and the

architecture of a computer program” qualify as trade secrets because they are “certainly not


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known outside the business” and are “not public knowledge”); see also Bright Start Furniture,

Inc. v. E & B Glob., Inc., No. 09-CV-3008 RRM/JMA, 2009 WL 2382304, at *1 (E.D.N.Y. Jul.

31, 2009) (same). As with its DTSA claim, Moog is likely to succeed in showing Defendants

misappropriated Moog’s trade secrets under New York state law.

         C        Breach of Contract

         To succeed on a breach of contract claim, “a plaintiff must establish: (1) the existence of

the contract; (2) the plaintiff's performance under the contract; (3) the defendant's breach of that

contract; and (4) resulting damages.” Golden Krust Patties, Inc. v. Bullock, 957 F. Supp. 2d 186,

197 (E.D.N.Y. 2013) (granting preliminary injunction on claim for breach of employee contract).

Here, Moog is likely to succeed on its breach of contract claim. First, there is no dispute Kim

signed an Exit Form on her last day at Moog in which she affirmed in writing that she had been

“provided access to proprietary information, including, but not limited to, intellectual property,

plans, strategies and other trade secret[s]” and affirmed that she did “not maintain access to, or

have possession of, any tangible or digital record of Moog IP-whether in hard copy or digital

form—on any device, cloud, or digital storage facilities.” (Daly Dec. ¶ 4, Ex. A). Similarly,

Pilkington and Kim both agreed to comply with Moog’s Employee Handbook, which prohibits

the disclosure or copying of Moog’s proprietary information. (Hunter Dec. ¶ 21, Exs. A, B).

         Second, Moog has not done anything contrary to the Employee Handbook or Exit Form.

Third, Kim copied 100% of Moog’s Platform software and other proprietary information at

Pilkington and Skyryse’s instruction less than a month before joining Skyryse in breach of the

Exit Form and Employee Handbook, and Moog has unquestionably been damaged as a result.4



4
  Moog’s breach of contract claims against Pilkington and Kim are not dependent on their contractual confidentiality
obligations. “As employees of [Moog,] defendants [Pilkington and Kim] owed their employer a duty not to divulge
confidential information, therefore it is not necessary to determine the viability of the confidentiality agreements[.]”
DoubleClick Inc. v. Henderson, No. 116914/97, 1997 WL 731413, at *4 (N.Y. Sup. Ct. Nov. 7, 1997).


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Moog is likely to prevail on its breach of contract claim. See Computer Assocs. Int’l Inc. v.

Bryan, 784 F. Supp. 982, 1009-1010 (E.D.N.Y. 1992) (granting a preliminary injunction against

a former employee because he “essentially copied” his former employer’s software in violation

of his confidentiality agreement and fiduciary duties owed to his former employer).

         D        Breach of Fiduciary Duty and Aiding and Abetting

         The elements of a claim for breach of fiduciary duty under New York law are “(1) the

existence of a fiduciary relationship, (2) misconduct by the defendant, and (3) damages directly

caused by the defendant’s misconduct.” PLC Trenching Co., LLC, 2011 WL 13135653, at *8.

Under New York law, an at-will employee owes his or her employer a fiduciary duty of loyalty,

including a duty not to disclose or use the employer’s proprietary or confidential information to

compete with their employer. Id. A claim for aiding and abetting a breach of fiduciary duty

requires “(1) a breach of a fiduciary of obligations to another, (2) that the defendant

knowingly induced or participated in a breach, and (3) that plaintiff suffered damages as a

result of the breach.” Obeid v. Mack, No. 14CV6498-LTS-MHD, 2016 WL 5719779, at *5

(S.D.N.Y. Sep. 30, 2016). The defendant must also have actual knowledge of the breach

and have substantially assisted the primary violator. Id.

         Here, Pilkington and Kim each owed Moog a fiduciary duty of loyalty not to misuse or

disclose Moog’s confidential and proprietary information or use Moog’s information in order to

compete with Moog. In breach of their duties, however, Pilkington (and thus Skyryse) instructed

Kim to misappropriate, and Kim in fact did misappropriate, “100% of [Moog’s] base Platform

software” less than one week after Pilkington went to work for Skyryse and less than one month

after Kim followed Pilkington to Skyryse. (Hunter Dec., ¶¶ 41, 45). Kim’s use of Pilkington’s

file path to copy Moog’s data shows that Pilkington aided and abetted Kim’s breach of

fiduciary duty with actual knowledge. (Id., ¶ 47). Moog is likely to prevail on its breach


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of fiduciary duty claims against Pilkington and Kim. Bryan, 784 F. Supp. at 1009-1010.5

IV.      BALANCE OF HARDSHIPS WEIGHS DECIDEDLY IN FAVOR OF MOOG

         Moog has demonstrated a high likelihood of success on the merits of its claims, so there

is no need for the Court to balance the hardships between the parties. If, however, the Court

finds that Moog has only raised a substantial question going to the merits of its claims, the Court

should find that the balance of hardships tips decidedly in favor of Moog. Here, Moog is seeking

only to preserve the status quo by preventing Defendants from using Moog’s trade secrets and

other proprietary information that they should never have misappropriated in the first place,

which imposes virtually no hardship on Defendants. If, in fact, Defendants did not engage in this

theft of data, the restraint on its use causes them no hardship at all. By contrast, if Moog’s

requested temporary and injunctive relief does not issue, Defendants can continue to exploit and

disseminate Moog’s trade secrets and proprietary information to compete unfairly with Moog,

which creates unbearable hardship on Moog. Consequently, the balance of hardships weighs

decidedly in favor of Moog. See, e.g., Kelly v. Evolution Markets, Inc., 626 F. Supp. 2d 364, 376

(S.D.N.Y. 2009) (finding that balance of hardships tipped decided in plaintiff’s favor where

plaintiff faced loss of business); Natsource LLC, 151 F.Supp.2d at 472 (finding balance of

hardships weighed in favor of plaintiff where plaintiff stood to lose customers, but defendant’s

ability to earn a livelihood would not be impaired by enforcement of the reasonable restrictive

covenant that the parties had agreed to).

                                                CONCLUSION

         For the foregoing reasons, Moog requests this Court grant the requested TRO and PI.


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  Moog is also likely to prevail on its claim for tortious interference with economic advantage. Defendants’ copying
of nearly all of the files (including coding, testing, and certification files) related to eRTOS and Sensitive
Government Program 1, obligates Moog to disclose Kim’s data theft, which jeopardizes Moog’s prospects for future
contracts. Moog has never had to report before. (Hunter Dec., ¶¶ 66-67). This meets every element of the claim.
See JTH Tax, Inc. v. Gouneh, 721 F. Supp. 2d 132, 139 (N.D.N.Y. 2010) (setting forth the elements of the claim).


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Dated: March 7, 2022



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